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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-06-441-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     RICARDO VENEGAS and                             )
                                                     )
13   VIRGILIO PINEDA,                                )       Date: September 7, 2012
                                                     )       Time: 9:00 a.m.
14
             Defendants.                             )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
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17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
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19   United States Attorney, together with counsel for defendant Ricardo Venegas, John R. Manning,

20   Esq., and counsel for defendant Virgilio Pineda, David Fischer, Esq., hereby stipulate the
21
     following:
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          1. By previous order, this matter was set for status conference on July 13, 2012.
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24
          2. By this stipulation, defendants now move to continue the status conference until

25   September 7, 2012 and to exclude time between July 13, 2012 and September 7, 2012 under the
26
     Local CodeT-4 (to allow defense counsel time to prepare).
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          3. The parties agree and stipulate, and request the Court find the following:
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                                                         1
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     a. Counsel for the defendants need additional time to review the discovery, conduct
 1

 2      investigation, and interview potential witnesses.

 3   b. This court has recently approved funding for Dayle Carlson, sentencing expert. Mr.
 4
        Carlson will need time to review the discovery; indictment; proposed plea agreement;
 5
        meet with counsel and Mr. Venegas to discuss potential mitigation issues. After
 6

 7
        which, Mr. Carlson will assist counsel for Mr. Venegas in preparing a written counter

 8      offer to the government in hopes of resolving the matter.
 9   c. Counsel for defendants believe the failure to grant a continuance in this case would
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        deny defense counsel reasonable time necessary for effective preparation, taking into
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        account the exercise of due diligence.
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13   d. The Government does not object to the continuance.

14   e. Based on the above-stated findings, the ends of justice served by granting the
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        requested continuance outweigh the best interests of the public and the defendants in
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        a speedy trial within the original date prescribed by the Speedy Trial Act.
17
     f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
18

19      Section 3161(h)(7)(A) within which trial must commence, the time period of July 13,

20      2012 to September 7, 2012, inclusive, is deemed excludable pursuant to 18 United
21
        States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local
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        Code T-4 because it results from a continuance granted by the Court at defendant’s
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        request on the basis of the Court’s finding that the ends of justice served by taking
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25      such action outweigh the best interest of the public and the defendant in a speedy

26      trial.
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                           4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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 2   Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3   a trial must commence.
 4
                           IT IS SO STIPULATED.
 5
     Dated: July 9, 2012                                                                   /s/ John R. Manning
 6                                                                                        JOHN R. MANNING
 7
                                                                                          Attorney for Defendant
                                                                                          Ricardon Venegas
 8
     Dated: July 9, 2012                                                                  /s/ David Fischer
 9                                                                                        DAVID FISCHER
10
                                                                                          Attorney for Defendant

11

12
     Dated: July 9, 2012                                                                  Benjamin B. Wagner
13                                                                                        United States Attorney

14                                                                              by:       /s/ Jill Thomas
                                                                                          JILL THOMAS
15
                                                                                          Assistant U.S. Attorney
16                                                                   ORDER
17

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                              IT IS SO FOUND AND ORDERED.
     Date: 7/9/2012
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20
                                                               _________________________
21                                                             GARLAND E. BURRELL, JR.
                                                               Senior United States District Judge
     DEAC_Signature-END:




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